          Case 1:22-cv-04924-JLR Document 13 Filed 10/19/22 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MICHAEL RICHARDS,
                                 Plaintiff,

                     -against-                             22-CV-04924 (JLR)

 LONG ISLAND RAILROAD COMPANY,                             ORDER

                                 Defendant.


JENNIFER L. ROCHON, United States District Judge:
        The Court is in receipt of the parties’ joint letter, dated October 14, 2022, filed in

response to the Court’s September 28, 2022 Reassignment Order. ECF No. 12. The Amended

Civil Case Management Plan and Scheduling Order entered by Judge Oetken on August 25,

2022, continues to remain in effect. See ECF No. 10.

       IT IS HEREBY ORDERED that the parties shall appear for a pretrial conference on

January 18, 2023, at 3:00 p.m. in Courtroom 20B of the Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, New York, 10007.

       If the parties believe they would benefit from a settlement conference before a Magistrate

Judge, or mediation through the District’s Mediation Program at the close of discovery, they may

contact the Court for a referral at any time.

Dated: October 17, 2022                                        SO ORDERED.
       New York, New York

                                                               JENNIFER L. ROCHON
                                                               United States District Judge
